                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA

    WILLIAM SPEIGHT, Individually and             §
    on behalf of all others similarly situated,   §
                                                  §
           Plaintiffs,                            §           CASE NO. ____________________
                                                  §
    v.                                            §           JURY TRIAL DEMANDED
                                                  §
    LABOR SOURCE, LLC,                            §
                                                  §
           Defendant.                             §


                         CLASS AND COLLECTIVE ACTION COMPLAINT


          Plaintiff William “Billy” Speight, individually and on behalf of all others similarly situated

(collectively, “Plaintiffs”), by his attorneys Schneider Wallace Cottrell Konecky LLP, brings the

following action for violation of the Fair Labor Standards Act (“FLSA”) and the North Carolina

Wage and Hour Act (“NCWHA”). Plaintiff states the following against Defendant:

                                       I.      INTRODUCTION

          1.      Plaintiff brings this collective action on behalf of himself and other similarly

situated individuals who have worked for Labor Source LLC (“Labor Source”) anywhere in the

United States as hourly, non-exempt employees performing restoration, renovation,

environmental, roofing, or other construction work, including but not limited to laborers, non-

exempt team leads, non-commercial drivers, technicians, carpenters, apprentices, cleaning crew,

plumbers, welders, and other laborers with similar job duties.1 Plaintiff also brings a class action

pursuant to Rule 23 of the Federal Rules of Civil Procedure for laborers who have worked for

Labor Source in North Carolina. Plaintiff and the putative Class and Collective Members challenge


1
   While the precise job titles may differ, Plaintiff hereinafter uses the term “laborer”
interchangeably in referencing any of these similarly situated employees.


                                          -1-
               Case 4:21-cv-00112-FL Document 1 Filed 08/12/21 Page 1 of 26
Labor Source’s minimum wage and overtime violations of the FLSA, 29 U.S.C. §§ 201, et seq.,

as well as the wage, hour, labor, and other applicable laws of the State of North Carolina.

       2.      Labor Source has local offices throughout the country, including Kansas City, St.

Louis, San Antonio, Dallas, Houston, Brownsville, Orlando, Pittsburgh, and Goldsboro, North

Carolina. From these local offices, Labor Source recruits and hires laborers on a temporary,

project-by-project basis. These projects/worksites can be remote, often hundreds of miles away

from the local Labor Source office where the laborers are hired. Labor Source requires the laborers

to drive together in passenger vans to the worksite location and stay in a hotel or motel near the

worksite throughout the project. Even though the hotel rooms have two beds, Labor Source forces

these workers to stay upwards of four people per room while out-of-town. Labor Source routinely

and systematically deducted and deducts2 various amounts from Plaintiff, Class, and Collective

Members’ wages for hotel fees, transportation/shuttle fees, and other deductions from the laborers’

pay. These deductions/fees, however, are incurred primarily for the benefit of Labor Source.

       3.      Plaintiff, Class, and Collective Members are hourly non-exempt employees under

federal and state wage-and-hour laws and should receive minimum wage and overtime pay

consistent with the requirements of those laws. However, Labor Source does not pay their laborers

proper minimum wage and overtime as required by law. By making various deductions from the

workers’ pay, Labor Source decreases Plaintiff’s, Class, and Collective Members’ hourly rates of

pay, often so that the rates fall below the requisite minimum and time-and-a-half rates required by

Federal and state law. Further, Labor Source accepts timesheets that it knows, or should know,




2
  Upon information and belief, Defendant’s illegal policies and practices as alleged herein continue
to be followed and are ongoing despite Plaintiff’s use of the past tense regarding his employment
with Defendant. Therefore, Plaintiff uses the present tense throughout the Complaint where
applicable.


                                       -2-
            Case 4:21-cv-00112-FL Document 1 Filed 08/12/21 Page 2 of 26
misrepresent and under-report the actual number of hours worked by their laborers. These

employees perform substantially the same job duties and responsibilities, and are compensated

pursuant to the common company policies. They are similarly situated under Federal Rule of Civil

Procedure 23 and the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 216(b).

        4.      Plaintiff sues on behalf of himself and other similarly situated workers who have

worked and are currently working for Labor Source, and who elect to opt into this action pursuant

to the collective action provision of the FLSA. This action claims that Labor Source has violated

and continues to violate the wage-and-hour provisions of the FLSA by depriving Plaintiff, as well

as those similarly situated to Plaintiff, of their lawful minimum wage and overtime wages.

        5.      The national FLSA Collective (“Collective”), represented by Plaintiff Speight, is

comprised of all people who are or have been employed by Labor Source as manual laborers within

the United States, except for the State of Minnesota, from the three years prior to this action’s

filing date through the final disposition of this action (“Collective Time Period”).

        6.      Plaintiff and all similarly situated employees who elect to participate in this action

seek unpaid compensation, an equal amount in liquidated damages and/or prejudgment interest,

attorneys’ fees, and costs pursuant to 29 U.S.C. § 216(b). Plaintiff further seeks equitable tolling

for those putative Collective members who have not yet received notice and opportunity to consent

to join the collective.

        7.      Plaintiff also brings this action under the NCWHA. The North Carolina Class,

represented by Plaintiff, is comprised of all people who are or have been employed as laborers by

Defendant within the State of North Carolina within the two years preceding the filing of this

action (“North Carolina Class Period”). Plaintiff intends to seek class certification under Rule 23

of the Federal Rules of Civil Procedure for the North Carolina Class.




                                        -3-
             Case 4:21-cv-00112-FL Document 1 Filed 08/12/21 Page 3 of 26
       8.        Plaintiff and the North Carolina Class Members seek unpaid wages and restitution

pursuant to the NCWHA, as well as liquidated damages, penalties, reimbursement of unlawful

deductions, prejudgment interest, attorneys’ fees, and costs as allowed by North Carolina law.

       9.        Accordingly, the above-named Plaintiff brings this action on behalf of himself and

on behalf of a class of similarly situated persons who have worked as laborers for Defendant in

North Carolina (“the Class Members”) for statutory violations that stem from these wage

violations.

                               II.    JURISDICTION AND VENUE

       10.       This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 because the action involves a federal statute, the FLSA, 29 U.S.C. §§ 201, et seq.

       11.       This Court has supplemental jurisdiction over Plaintiff’s North Carolina state law

claims pursuant to 28 U.S.C. § 1367 because these claims derive from a common nucleus of

operative facts.

       12.       Venue in the Eastern District of North Carolina is proper pursuant to 28 U.S.C. §

1391(b) because a substantial part of the unlawful conduct described herein occurred from Labor

Sources offices and on work sites within this district.

       13.       Defendant is subject to personal jurisdiction in this District because Defendant is a

foreign corporation that conducts substantial and continuous commercial activities in this District.

Defendant has offices in this District and operates work sites within this District on which Plaintiff,

Class, and Collective Members provided their labor.

       14.       Defendant is subject to specific personal jurisdiction in North Carolina because

Labor Source has offices in Goldsboro, North Carolina, employs workers in this state, solicits

business to take part in North Carolina, hires North Carolina workers and supervisory employees




                                         -4-
              Case 4:21-cv-00112-FL Document 1 Filed 08/12/21 Page 4 of 26
to work on projects in North Carolina, and because the facts giving rise to the FLSA and North

Carolina state law violations complained of here arose while Labor Source’s employees performed

work in North Carolina.

       15.      This Court is empowered to issue a declaratory judgment and further relief pursuant

to 28 U.S.C. § 2202.

                                      III.   THE PARTIES

       16.      Plaintiff Billy Speight is a resident of Walstonburg, North Carolina. From

approximately January 2019 through September 2019, Plaintiff worked for Defendant as a manual

laborer and non-commercial driver on projects assigned by Defendant throughout various states,

including North Carolina, Florida, Pennsylvania, Ohio, Nebraska, West Virginia, and Virginia.

Plaintiff received job assignments from Defendant through the Labor Source local office located

in Goldsboro, North Carolina.

       17.      The National Collective Members are all hourly, non-exempt laborers who are or

have been employed by Defendant Labor Source in the United States (except for the State of

Minnesota) within the Collective Time Period.

       18.      The North Carolina Class Members are all hourly, non-exempt laborers who are or

have been employed by Defendant Labor Source on projects within the State of North Carolina

within the Class Time Period.

       19.      Defendant Labor Source, LLC is a foreign corporation with locations in various

states throughout the country, with its principal office located in Olathe, Kansas. Labor Source is

a staffing agency and hires workers who perform work in various states, including North Carolina.

Labor Source may be served with process by serving its registered agent, Capitol Corporate

Services, Inc., at 120 Penmarc Drive, Suite 118, Raleigh, North Carolina 27603.




                                        -5-
             Case 4:21-cv-00112-FL Document 1 Filed 08/12/21 Page 5 of 26
       20.      At all material times, Defendant was and is legally responsible, either in its

individual employer capacities or in a joint employer capacity alongside Defendant’s customers,

for the unlawful conduct, policies, acts, and omissions as described and set forth in this Complaint,

as the individual and/or joint employer of Plaintiff, the Collective, and the Class Members.

       21.      At all material times, Defendant has been an employer within the meaning of the

FLSA under 29 U.S.C. § 203(d) as well as under the NCWHA.

       22.      Defendant, as employer of Plaintiffs, Class, and Collective members throughout the

relevant time period, is liable for damages and penalties for violating the FLSA, NCWHA, and

other state laws, rules and regulations with respect to the employment of Plaintiff and Collective

members in the United States, as well as the employment of Plaintiff and Class members within

the State of North Carolina.

       23.      At all material times, Defendant has been and is governed by and subject to the

FLSA, 29 U.S.C. § 201, et seq.

       24.      At all material times, Defendant has been and is an enterprise within the meaning

of section 3(r). 29 U.S.C. § 203(r).

       25.      At all material times, Defendant has been and is an enterprise or enterprise in

commerce or in the production of goods for commerce within the meaning of section 3(s)(1) of

the FLSA because Defendant has had and continues to have employees engaged in commerce. 29

U.S.C. § 203(s)(1).

       26.      At all material times, the unlawful conduct against Plaintiff, the Collective, and

Class Members as described in this Complaint was actuated, in whole or in part, by a purpose to

serve Defendant and Defendant’s principals. At all relevant times, upon information and belief,

the unlawful conduct described in this Complaint was reasonably foreseeable by Defendant and




                                        -6-
             Case 4:21-cv-00112-FL Document 1 Filed 08/12/21 Page 6 of 26
committed under actual or apparent authority granted by Defendant such that all aforementioned

unlawful conduct is legally attributable to Defendant.

       27.      At all material times, Defendant have had an annual gross business volume of not

less than $500,000.

                               IV.     STATEMENT OF FACTS

       28.      Defendant Labor Source is a staffing company that recruits and assigns workers to

other companies. One Source operates in various states across the U.S., including but not limited

to North Carolina, Kansas, Missouri, Florida, and Texas.

       29.      Labor Source contracts with various principals/customers throughout North

Carolina and the United States to provide temporary staffing of manual laborers to those principals

for projects in various work sites, including in North Carolina. For example, in or around January

2019 through March 2019, Labor Source contracted with its principal, BluSky Restoration

Contractors LLC, to provide manual laborers for a BluSky’s project in Morehead City, North

Carolina. Labor Source has similar agreements to provide temporary manual laborer workers for

other principal contractors throughout the country.

       30.      Plaintiff, Class, and Collective Members perform labor services for Defendant and

Defendant’s principal contractors. As a matter of common practice, Defendant Labor Source

recruits Plaintiff, Class, and Collective members from a Labor Source local office (e.g., Plaintiff

was recruited from Labor Source’s local office in Goldsboro, North Carolina), and then transports

these manual laborers to a worksite location in buses/passenger vans, which can be hundreds of

miles away from the workers’ homes. Upon information and belief, Defendant does not pay

Plaintiff, Class, or Collective members for such time driving from Labor Source’s office to the

project location. Defendant also does not reimburse Plaintiff and Class members for all expenses




                                        -7-
             Case 4:21-cv-00112-FL Document 1 Filed 08/12/21 Page 7 of 26
incurred for such travel and for the work to be performed for Labor Source’s customers, including

travel expenses such as gas, toll roads, and food. Once at the worksite location, the manual laborers

are forced to stay in a hotel/motel room with strangers, generally four-to-six people per room even

though the rooms only have two beds. Once at the worksite, the workers are essentially held captive

at the worksite because they do not have their own transportation. The workers stay at the

hotel/motel and perform labor on the worksite until the project is complete.

       31.      Each of the worksites where Plaintiff, Class, and Collective members are assigned

are overseen by a “crew leader,” generally a Labor Source direct employee that is supervised and

directed by Defendant’s principal contractor (e.g., BluSky), who keeps track of the hours worked

by Plaintiff, Class, and Collective Members. The crew leader requires Plaintiff, Class, and

Collective Members to sign a daily time sheet at the end of their shift. Defendant’s

principal/contractor (e.g., BluSky) collects and compiles these daily timesheets and submits them

to Labor Source in order to issue wage payments to the workers.

       32.      These time sheets, however, are often inaccurate in that the hours worked by

Plaintiff, Class, and Collective Members are artificially reduced and under-reported at the direction

of Labor Source’s principal (e.g., BluSky), resulting in underpayment of wages. Defendant Labor

Source largely accepts these inaccurate time sheets at face value and regularly does nothing to

ensure the time sheets reflect the actual hours worked. Instead, Labor Source foregoes its

obligations as an employer under the FLSA and NCWHA to make sure its employees are paid for

all hours worked, buries its head in the sand and allows its principal contractors to take undue

advantage of these modest, hourly-paid manual laborers by grossly under-reporting their hours

worked. Even worse, Labor Source actively and knowingly assists in covering up the wage

violations by failing to and refusing to provide these out-of-town workers ready access to itemized




                                        -8-
             Case 4:21-cv-00112-FL Document 1 Filed 08/12/21 Page 8 of 26
wage statements that list the total hours worked and total wages paid. Labor Source covers the

tracks of its principal contractors by paying these workers through a pre-paid debit card system (in

lieu of a traditional paycheck), often resulting in the workers not receiving itemized wage

statements at all.

        33.      Moreover, the compensation provided to Plaintiff, Class, and Collective Members

is not paid finally, unconditionally, free and clear of deductions and/or kickbacks. Defendant

requires Plaintiff, Class, and Collective Members to incur numerous work-related expenses and/or

improperly deducts amounts from their wages for Defendant’s benefit. Defendant requires

Plaintiff, Class, and Collective Members to incur certain expenses which would normally be borne

by an employer, such as expenses for toll costs, gas, equipment, food, hotel, and other travel

expenses for the benefit of Defendant and Defendant’s principal contractors. Defendant does not

reimburse Plaintiffs and the Class Members for the travel, equipment, lodging, or other business

expenses incurred by Plaintiff and the Class Members in connection with their employment by

Defendant.

        34.      Defendant, either individually or in conjunction with its principal contractor, makes

improper deductions from Plaintiff’s, Class, and Collective Members’ wages, including

deductions for travel and lodging expenses. Upon information and belief, Defendant deducts

approximately $7 to $20 per week per worker from the workers’ pay for “shuttle fees” or “travel,”

hotel/lodging fees, and other various deductions. Even though Defendant requires Plaintiff, Class,

and Collective Members to stay in a nearby motel adjacent to the work site, Defendant still

regularly deducts “hotel” expenses from the laborers, regardless of the actual room rate charged

by the motel or the number of workers assigned per room. In other words, Defendant attempts to

profit from Plaintiff, Class, and Collective Members for their transportation, lodging, and other




                                         -9-
              Case 4:21-cv-00112-FL Document 1 Filed 08/12/21 Page 9 of 26
expenses by making oversized and improper deductions from the workers’ wages.

       35.     Plaintiff Speight has worked for Labor Source on numerous projects, including

projects in North Carolina, Florida, Pennsylvania, Ohio, Nebraska, West Virginia, and Virginia.

At each of these projects, Labor Source instituted and implemented the same policies and practices

regarding timekeeping, recordkeeping, lodging, and expense deductions.

       36.     Plaintiff, Class, and Collective Members worked and continue to work hours for

Defendant that are not recorded or for which Plaintiff, Class, and Collective Members are not

compensated, despite Defendant having knowledge that such hours are worked. Plaintiff, as well

as numerous other Class and Collective members, have complained to Labor Source’s offices on

many occasions that they were not being paid for all hours worked. Although Labor Source’s

offices would promise to “take care of it,” no changes were made. Accordingly, Plaintiff, Class,

and Collective Members are underpaid for the hours actually worked, often resulting in hourly

rates that fall well below the minimum wage rates and overtime rates required by law.

       37.     Instead of attempting to correct these gross underpayments of wages, Defendant

tries to hide these wage violations by not readily providing pay stubs or itemized wage statements,

often withholding the wage statements altogether. Upon information and belief, Defendants make

Plaintiffs’ and Class and Collective Members’ wage statements available through an online

subscription, which requires Plaintiffs and Class Members to pay a fee to view their wage

statements. When pay stubs are actually provided, the wage statements are inaccurate, incomplete,

and do not itemize all deductions taken from Plaintiffs’ wages.

       38.     Due to the time-reduction and improper expense deduction schemes, Defendant

does not pay hourly rates that meet the minimum wage requirement and do not pay a premium rate

of time-and-a-half for all hours worked over 40 in a work week to Plaintiff, Class, and Collective




                                     -10-
          Case 4:21-cv-00112-FL Document 1 Filed 08/12/21 Page 10 of 26
Members.

          39.     Plaintiff was paid a rate of approximately $11 per hour during his employment with

Labor Source. When assigned to a work site, Plaintiff consistently worked over 12 hours per day,

five-to-seven days per week (depending on the project) until the job was completed. When

assigned to a work site, Plaintiff routinely worked 60 to 75 hours per week each workweek. Upon

information and belief, Class and Collective members worked and continue to work similar

amounts of time per week as Plaintiffs and are paid similar wages.

          40.     As a result of Defendant’s common pay, timekeeping, and recordkeeping practices,

Plaintiff, Class, and Collective Members have not been and are not compensated for all hours

worked including all overtime hours, and their hourly rates of pay often fall below the minimum

wage.

          41.     Defendant’s conduct, as set forth herein, was willful and in bad faith, and has

    caused significant damages to Plaintiffs and the Class Members. Upon information and belief,

    Defendant’s wage practices have been previously investigated by the Department of Labor.

    Moreover, Defendant has been sued for FLSA and other wage violations on multiple occasions

    during the six or so years prior to this action, including actions that have been brought in Kansas,3

    Texas4 and Minnesota.5

                          V.      COLLECTIVE ACTION ALLEGATIONS

          42.     Plaintiff incorporates by reference the allegations set forth above.

          43.     Plaintiff has knowledge that Collective Members have also been denied minimum



3
  See Peavy v. Labor Source, Case No. 15-2633-JAR-TJJ, filed on Mar. 2, 2015 in the United Stated District Court
for the District of Kansas.
4
  See Henderson v. One Source Staffing and Labor d/b/a Catstaff, Case No. 4:17-cv-00622, filed Feb. 26, 2017 in
the United States District Court for the Southern District of Texas.
5
  See, e.g., Murphy v. Labor Source, LLC, No. 19-1929 (MJD/ECW), 2020 U.S. Dist. LEXIS 189875 (D. Minn. Oct.
4, 2020).


                                        -11-
             Case 4:21-cv-00112-FL Document 1 Filed 08/12/21 Page 11 of 26
wage and overtime pay for all hours worked over forty (40) per work week. Plaintiff worked for

Defendant’s customers on multiple projects and in multiple states. During those projects, Plaintiff

was subjected to the same pay practices and was aware that other laborers, including workers who

were later promoted to a “lead” position, were subjected to the same improper timekeeping

oversight practices, improper deductions, minimum wage and overtime violations, as well as the

other statutory violations discussed herein.

       44.      Other employees similarly situated to Plaintiff work for Defendant in a similar

capacity and are not paid proper minimum wage and overtime at the rate of one and one-half times

their regular rate for all hours worked per work week.

       45.      Defendant employs hundreds of such employees who work in North Carolina,

Illinois, Kansas, Texas, Florida, and elsewhere during the last three years, who were and are subject

to the time reduction and improper wage reduction schemes described above.

       46.      As such, the “Collective” of similarly situated Plaintiffs is properly defined as

follows:

                All current and former hourly, non-exempt employees
                including, but not limited to, laborers, non-exempt team leads,
                non-commercial drivers, technicians, carpenters, apprentices,
                cleaning crew, plumbers, welders, and other laborers with
                similar job duties employed by Defendant throughout the
                United States (except for the State of Minnesota), within the
                three years preceding the filing of this Action until final
                resolution of the case.

       47.      Although Defendant permits and/or requires Collective Members to work upwards

of 60-80 hours per work week, Defendant has failed to ensure them compensation for all hours

worked and applied inappropriate deductions from wages. As a result, Collective Members’ hourly

rates of pay often fell below minimum wage, and they did not receive proper overtime

compensation.



                                      -12-
           Case 4:21-cv-00112-FL Document 1 Filed 08/12/21 Page 12 of 26
       48.     Plaintiff is representative of the Collective Members in that he performed similar

job duties as the Collective Members, was subjected to the same company-wide policies and wage

deductions, and was similarly subjected to wages below the minimum wage requirement on the

basis of uniform company policies and practices. Plaintiff is acting on behalf of the Collective

Members’ interests as well as Plaintiff’s own interests in bringing this action.

       49.     Collective Members perform the same or similar work as Plaintiff.

       50.     Collective Members regularly work or have worked in excess of forty hours during

a work week.

       51.     Collective Members are paid an hourly rate and are often paid less than the required

minimum wage of $7.25 per hour. Collective Members often are not paid for all hours worked in

a work week and are subject to inappropriate deductions from their wages, resulting in diluted

hourly rates and unpaid overtime wages for hours worked in excess of 40 in a work week.

       52.     Defendant’s policy of allowing its principal contractors to artificially reduce and/or

under-report the hours worked by Collective Members, and therefore often diluting their hourly

rate below $7.25 per hour and failing to compensate Collective Members for all hours worked in

excess of 40 in a work week, in violation of the FLSA, is universal across the defined Collective

and forms the basis of the wage violation.

       53.     Defendant’s policy of making improper deductions from wages for “shuttle” fees,

“hotel” fees, and other various deductions from pay further dilute the total wages paid to Collective

Members, and therefore dilutes the hourly rates of pay for Collective members to near or below

the $7.25 minimum wage rate.

       54.     Collective Members were not and are not exempt from receiving minimum wage

or overtime pay under the FLSA.




                                     -13-
          Case 4:21-cv-00112-FL Document 1 Filed 08/12/21 Page 13 of 26
       55.        As such, Collective Members were and are similar to Plaintiff in terms of job duties,

pay structure, dilution of hourly rates, deductions from wages, and/or the denial of overtime.

       56.        Defendants’ failure to pay minimum wage and overtime compensation at the rate

required by the FLSA results from generally applicable policies or practices and does not depend

on the personal circumstances of the Collective Members.

       57.        The experiences of Plaintiff, with respect to their pay, was and is typical of the

experiences of the Collective Members.

       58.        The specific job titles or precise job responsibilities of each Collective Member

does not prevent collective treatment.

       59.        Collective Members, irrespective of their particular job requirements, are entitled

to minimum wage for all hours worked up to forty in a work week and are entitled to overtime

compensation at the rate of time and a half for hours worked in excess of forty during a work week.

       60.        Although the exact amount of damages may vary among Collective Members, the

damages for the Collective Members can be easily calculated by a simple formula. The claims of

Collective Members arise from a common nucleus of facts. Liability is based on a systematic

course of wrongful conduct by the Defendants that caused harm to Collective Members.

       61.        The similarly situated Collective Members are known to Defendants, are readily

identifiable, and can be located through Defendants’ records. They should be notified and allowed

to opt into this action pursuant to 29 U.S.C. § 216(b) for the purpose of collectively adjudicating

their claims for overtime compensation, liquidated damages, prejudgment interest, and attorneys’

fees and costs.

       62.        Unless the Court promptly issues such notice, the numerous similarly situated

current and former laborers nationwide whose hourly rates are diluted, are denied compensation




                                     -14-
          Case 4:21-cv-00112-FL Document 1 Filed 08/12/21 Page 14 of 26
for all hours worked, and are denied overtime in violation of the FLSA will be unable to secure

unpaid back wages, which have been unlawfully withheld by the Defendants.

                    VI.     NORTH CAROLINA CLASS ALLEGATIONS

       63.     Plaintiff brings state law claims as a class action pursuant to Rule 23 of the Federal

Rules of Civil Procedure on behalf of the “North Carolina Class,” which is comprised of:

               All current and former hourly, non-exempt employees,
               including but not limited to, laborers, non-exempt team leads,
               non-commercial drivers, technicians, carpenters, apprentices,
               cleaning crew, plumbers, welders, and other laborers with
               similar job duties employed by Defendant within the State of
               North Carolina at any time during the two years preceding the
               filing of this Complaint through final resolution of the action.

       64.     Numerosity. The number of members in the North Carolina Class is believed to

exceed forty. This volume makes bringing the claims of each individual member of the class before

this Court impracticable. Likewise, joining each individual member of the North Carolina Class

as a plaintiff in this action is impracticable. Furthermore, the identity of the members of the North

Carolina Class will be determined from Defendants’ records, as will the compensation paid or not

paid to each of them. As such, a class action is a reasonable and practical means of resolving these

claims. To require individual actions would prejudice the North Carolina Class and Defendants.

       65.     Typicality. Plaintiff’s claims are typical of the North Carolina Class because, like

the members of the Class, Plaintiff was subject to Defendant’s uniform policies and practices and

were compensated in the same manner as others in the North Carolina Class. Defendant failed to

ensure proper timekeeping and failed to correct its customer’s practice of artificially reducing the

hours worked by Plaintiff and North Carolina Class Members, thereby diluting their hourly rates

to levels below the minimum wage and failing to compensate Plaintiffs and North Carolina Class

Members for all hours worked, including overtime compensation for their overtime hours worked.




                                     -15-
          Case 4:21-cv-00112-FL Document 1 Filed 08/12/21 Page 15 of 26
Defendant’s common policies and practices of improperly deducting amounts from Plaintiff’s and

North Carolina Class Members’ wages further reduced their pay below the North Carolina

minimum wage and overtime rates. Members of the North Carolina Class work substantially more

than forty (40) hours in a week as non-exempt employees but are uniformly denied proper

compensation to which they are owed. Plaintiff and the North Carolina Class have been and are

under-compensated as a result of Defendant’s common policies and practices which fail to comply

with North Carolina law. As such, Plaintiff’s claims are typical of the claims of the North Carolina

Class. Plaintiff and members of the North Carolina Class sustained damages arising out of and

caused by Defendant’s common course of conduct in violation of law as alleged herein.

       66.     Adequacy. Plaintiff is a representative party who will fairly and adequately protect

the interests of the North Carolina Class because it is in his interest to effectively prosecute the

claims herein alleged in order to obtain the unpaid wages and penalties required under North

Carolina law. Plaintiff has retained attorneys who are competent in both class actions and wage

and hour litigation. Plaintiff does not have any interest which may be contrary to or in conflict

with the claims of the North Carolina Class he seeks to represent.

       67.     Commonality. Common issues of fact and law predominate over any individual

questions in this matter. The common issues of fact include, but are not limited to:

               a. Whether Plaintiff and the North Carolina Class work more than forty (40) hours

                   in a work week;

               b. Whether Defendant pays Plaintiff and the North Carolina Class on an hourly

                   rate basis;

               c. Whether Defendant fails to compensate Plaintiff and the North Carolina Class

                   for all hours worked;




                                     -16-
          Case 4:21-cv-00112-FL Document 1 Filed 08/12/21 Page 16 of 26
               d. Whether Defendant fails to pay Plaintiff and the North Carolina Class at the

                   state-mandated minimum wage rate;

               e. Whether Defendant fails to pay Plaintiff and the North Carolina Class overtime

                   wages for all hours worked over forty (40) in a work week;

               f. Whether Defendant fails to pay Plaintiff and the North Carolina Class at the

                   state-mandated overtime rate;

               g. Whether Defendant paid Plaintiff and the North Carolina Class Members under

                   the same or substantially similar debit card system.

       68.     The common issues of law include, but are not limited to:

               a. Whether Defendants can claim an exemption for Plaintiff and the North

                   Carolina Class;

               b. Whether Plaintiff and the North Carolina Class are entitled to liquidated

                   damages;

               c. Whether Plaintiff and the North Carolina Class are entitled to statutory

                   penalties;

               d. The proper measure of damages sustained by Plaintiff and the North Carolina

                   Class; and

               e. Whether Defendant’s actions were “willful.”

       69.     Superiority. A class action is superior to other available means for the fair and

efficient adjudication of this lawsuit. Even in the event any member of the North Carolina Class

could afford to pursue individual litigation against a company the size of Defendant, doing so

would unduly burden the court system. Individual litigation would magnify the delay and expense

to all parties and flood the court system with duplicative lawsuits. Prosecution of separate actions




                                     -17-
          Case 4:21-cv-00112-FL Document 1 Filed 08/12/21 Page 17 of 26
by individual members of the North Carolina Class would create the risk of inconsistent or varying

judicial results and establish incompatible standards of conduct for Defendants.

       70.     A class action, by contrast, presents far fewer management difficulties and affords

the benefits of uniform adjudication of the claims, financial economy for the parties, and

comprehensive supervision by a single court. By concentrating this litigation in one forum, judicial

economy and parity among the claims of individual North Carolina Class Members are promoted.

Additionally, class treatment in this matter will provide for judicial consistency. Notice of the

pendency and any resolution of this action can be provided to the North Carolina Class by mail,

electronic mail, text message, print, broadcast, internet and/or multimedia publication. The identity

of the members of the North Carolina Class is readily identifiable from Defendant’s records.

       71.     This type of case is well-suited for class action treatment because: (1) Defendant’s

practices, policies, and/or procedures were uniform; (2) the burden is on Defendant to prove it

properly compensated its employees including any potential exemptions that might apply; and (3)

the burden is on Defendant to accurately record hours worked by employees. Ultimately, a class

action is a superior form to resolve the North Carolina claims detailed herein because of the

common nucleus of operative facts centered on the continued failure of Defendants to pay

Plaintiffs and the North Carolina Class per applicable North Carolina laws.

                                 FIRST CAUSE OF ACTION
                                           COUNT I
                                 FLSA – Overtime Violations
                             (On Behalf of the Collective Members)

       72.     Plaintiffs incorporate by reference the allegations set forth above.

       73.     The FLSA requires that covered employees receive compensation for all hours

worked and overtime compensation not less than one and one-half times the regular rate of pay for

all hours worked in excess of forty hours in a work week. 29 U.S.C. § 207(a)(1).



                                     -18-
          Case 4:21-cv-00112-FL Document 1 Filed 08/12/21 Page 18 of 26
          74.   At all times material herein, Plaintiff and the Collective are covered employees

entitled to the rights, protections, and benefits provided under the FLSA. 29 U.S.C. §§ 203(e) and

207(a).

          75.   Defendant is a covered employer required to comply with the FLSA’s mandates.

          76.   Defendant violated the FLSA with respect to Plaintiff and the Collective, by, inter

alia, failing to compensate Plaintiffs and the Collective for all hours worked and, with respect to

such hours, failing to pay the legally mandated overtime premium for such work, as well as failing

to provide overtime compensation that is unconditional, free, and clear of deductions and/or

kickbacks as described herein. Defendant also violated the FLSA by failing to keep required,

accurate records of all hours worked by Plaintiff and the Collective. 29 U.S.C. § 211(c).

          77.   Plaintiff and the Collective are victims of uniform and company-wide

compensation policies instituted by Defendant. These uniform policies, in violation of the FLSA,

are applied to current and former non-exempt, hourly laborers working throughout the United

States, including in the State of North Carolina (but excluding the State of Minnesota).

          78.   Defendant permits and/or fails to correct its customer’s common practice of under-

reporting Plaintiff’s and the Collective Members’ time records to fraudulently misrepresent the

actual number of hours worked, depriving Plaintiff and the Collective Members of compensation

for all overtime hours worked. Defendant has not paid and continues to refuse to pay Plaintiffs and

the Collective Members overtime for all hours worked beyond 40 in each work week.

          79.   Defendant further makes deductions from Plaintiff’s and Collective Members’ pay,

that further reduce the overtime rate paid to Plaintiff and Collective Members.

          80.   Upon information and belief, Defendant’s violative overtime practices occur in a

similar fashion across multiple job sites throughout the United States, regardless of the specific




                                       -19-
            Case 4:21-cv-00112-FL Document 1 Filed 08/12/21 Page 19 of 26
customer/principal that hired Defendant to provide the manual labor services provided by Plaintiff

and Collective Members.

          81.   Plaintiff and the Collective are entitled to damages equal to the mandated pay,

including minimum wage, straight time, and overtime premium pay within the three years

preceding the filing of the complaint, plus periods of equitable tolling, because Defendant has

acted willfully and knew or showed reckless disregard for whether the alleged conduct was

prohibited by the FLSA.

          82.   Defendant has acted neither in good faith nor with reasonable grounds to believe

that their actions and omissions were not a violation of the FLSA, and as a result thereof, Plaintiff

and the Collective are entitled to recover an award of liquidated damages in an amount equal to

the amount of unpaid overtime pay and prejudgment interest at the applicable rate. 29 U.S.C. §

216(b).

          83.   Defendant willfully violated and continues to willfully violate the FLSA, by having

engaged and continuing to engage in conduct which demonstrates a willful and/or reckless

disregard for the provisions of the FLSA. Defendant has been investigated by the Department of

Labor and has been sued for wage violations in previous lawsuits related to their pay practices for

laborers. Defendant was therefore on notice of its FLSA obligations and did not correct the

violative practices.

          84.   As a result of the aforesaid violations of the FLSA’s provisions, pay, including

minimum wage, straight time, and overtime compensation, has been unlawfully withheld by

Defendant from Plaintiff and the Collective. Accordingly, Defendant is liable for unpaid wages,

together with an amount equal as liquidated damages, attorneys’ fees, and costs of this action.

          85.   Wherefore, Plaintiff and the Collective request relief as hereinafter provided.




                                       -20-
            Case 4:21-cv-00112-FL Document 1 Filed 08/12/21 Page 20 of 26
                                           COUNT II
                              FLSA – Minimum Wage Violations
                             (On Behalf of the Collective Members)

       86.     Plaintiffs incorporate by reference the allegations set forth above.

       87.     Defendant violates the FLSA with respect to Plaintiff and the Collective, by, inter

alia, failing to compensate Plaintiff and the Collective for all hours worked and, with respect to

such hours, failing to pay the legally mandated minimum wage for such work, as well as failing to

provide compensation that is unconditional, free, and clear of deductions and/or kickbacks as

described herein. Defendant also violate the FLSA by failing to keep required, accurate records of

all hours worked by Plaintiffs and the Collective. 29 U.S.C. § 211(c).

       88.     Defendant enacted a scheme to dilute Plaintiff’s and the Collective Members’

regular hourly rates of pay below the minimum wage by improperly deducting “expenses” from

the workers’ wages, as well as permitting or otherwise failing to correct Defendant’s customer’s

practice of under-reporting or otherwise artificially reducing the total hours reported worked by

Plaintiff and the Collective Members.

       89.     As a result, Defendant improperly dilute Plaintiff’s and the Collective Members’

regular hourly rates of pay to levels below the federal minimum wage and have not compensated

Plaintiff and the Collective Members for all hours worked.

       90.     Defendant has not paid and continues to refuse to pay Plaintiff and the Collective

Members at the federally-mandated minimum wage for all hours worked during each work week.

       91.     Defendant violated the FLSA minimum wage by not properly compensating

Plaintiff and the Class Members for all hours worked in a work week, thereby diluting their regular

hourly rate below the minimum wage of $7.25.

       92.     Defendant’s minimum wage violations were and are willful.




                                     -21-
          Case 4:21-cv-00112-FL Document 1 Filed 08/12/21 Page 21 of 26
       93.     As a result of Defendant’s FLSA minimum wage violations, Plaintiff and the Class

Members are entitled to recover unpaid wages dating three (3) years from the date of this filing of

this Complaint, plus an additional equal amount in liquidated damages, reasonable attorneys’ fees,

and costs of this action.

       94.     Wherefore, Plaintiff and the Collective request relief as hereinafter provided.

                                 SECOND CAUSE OF ACTION
                                            COUNT I
                            NCWHA – Failure to Pay Minimum Wage
                             (On Behalf of the North Carolina Class)

       95.     Plaintiff incorporates by reference the allegations set forth above.

       96.     As detailed above, Defendant failed to, and continues to fail to, compensate

Plaintiff and putative North Carolina Class members with at least the minimum wage for all hours

worked.

       97.     North Carolina law requires an employer to pay its employees all wages accruing

to the employee. N.C. Gen. Stat. § 95-25.6.

       98.     Defendant is required to pay each employee at or above the minimum wage rate of

$7.25 per hour for all hours worked.

       99.     During the applicable statutory period, the NCWHA was in full force and effect

and required that Plaintiff and putative Class members receive the minimum wage for all hours

worked.

       100.    Plaintiff and putative Class members are directed to work by Defendant and, in fact,

do work but are not compensated at least at the minimum wage rate for all time worked. Pursuant

to the NCWHA, Plaintiff and putative Class members are entitled to be compensated at least at the

applicable mandated minimum wage rate for all time worked.




                                     -22-
          Case 4:21-cv-00112-FL Document 1 Filed 08/12/21 Page 22 of 26
       101.    Plaintiff and the putative Class members are entitled to recover unpaid minimum

wages under the NCWHA in a civil action.

       102.    Because of Defendant’s policies and practices with regard to compensating

Plaintiffs and putative Class members, Defendant willfully fails to pay minimum wages as required

by the NCWHA. Defendant dilutes Plaintiff’s and the putative Class Members’ regular hourly

rates of pay below the minimum wage by improperly deducting “expenses” from the workers’

wages, as well as permitting Labor Source’s customers to under-report or otherwise artificially

reduce the total hours reported worked by Plaintiff and the putative Class Members. Defendant

further dilutes Plaintiff’s and the putative Class Members’ regular hourly rates of pay below the

minimum wage by requiring them to perform off-the-clock work—including but not limited to

travel time—which adds to the actual hours worked by Plaintiffs and putative Class members.

Moreover, Defendants regularly require Plaintiffs and putative Class members to pay out-of-

pocket for work expenses including personal protective equipment and transportation, lodging,

and food when traveling to assigned work sites, and fail to fully reimburse Plaintiff and putative

Class members for these expenses, if at all. When the remuneration received by Plaintiff and

putative Class members is reduced by unreimbursed out-of-pocket expenses, and then divided by

the actual hours worked, Plaintiff and putative Class members are frequently compensated below

the statutory minimum wage rate.

       103.    Plaintiff and putative Class members are and have been deprived of minimum

wages in an amount to be proven at trial, and are entitled to a recovery of such amount, plus

statutory and liquidated damages, interest thereon, attorneys’ fees, and costs of suit pursuant to the

NCWHA. N.C. Gen. Stat. § 95-25.22.

       104.    Wherefore, Plaintiff and the putative Class Members request relief as hereinafter




                                     -23-
          Case 4:21-cv-00112-FL Document 1 Filed 08/12/21 Page 23 of 26
provided.

                                             COUNT II
                                  NCWHA – Overtime Violation
                              (On Behalf of the North Carolina Class)

        105.    Plaintiff incorporates by reference the allegations set forth above.

        106.    Defendant does not compensate Plaintiff and putative Class members with the

appropriate overtime rate for work performed in excess of forty (40) hours per week.

        107.    The NCWHA requires employers to pay overtime for all hours worked in excess of

forty (40) per workweek at a rate of one-and-one-half times the employee’s regular rate of pay.

N.C. Gen. Stat. § 95-25.4.

        108.    Plaintiff and Class Members are not exempt from the overtime requirements under

the NCWHA.

        109.    Defendant intentionally refused to pay all wages due as set forth in the preceding

paragraphs to Plaintiff and the Class Members in violation of the NCWHA.

        110.    Accordingly, Plaintiff, on behalf of himself and the Class Members, seeks damages

in an amount to be proven at trial, and are entitled to a recovery of such amount, plus statutory and

liquidated damages, interest thereon, attorneys’ fees, and costs of suit pursuant to the NCWHA.

N.C. Gen. Stat. § 95-25.22.

        111.    Wherefore, Plaintiff and the putative Class Members request relief as hereinafter

provided.

                                     VII.    JURY DEMAND

        112.    Plaintiff hereby demands a jury trial on all claims and issues for which Plaintiffs

are entitled to a jury.

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                                       -24-
            Case 4:21-cv-00112-FL Document 1 Filed 08/12/21 Page 24 of 26
                        VIII. PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray that this Court enter the following relief:

               i. Declaration that Defendant’s pay practices violate the FLSA;

              ii. Declaration that Defendant’s pay practices violate the NCWHA;

             iii. An order allowing Plaintiff to notify collective members of their right

                  to opt-in to this action to pursue a claim under the FLSA, pursuant to 29

                  U.S.C. § 216(b);

             iv. An order certifying Plaintiff’s North Carolina state law claims as a class

                  action pursuant to Federal Rule of Civil Procedure 23;

              v. An order awarding Plaintiff and the Collective Members back pay equal

                  to the amount of all unpaid wages, plus an equal amount in liquidated

                  damages for willful violations of the FLSA;

             vi. An order awarding Plaintiff and the Collective Members litigation costs,

                  expenses, and attorneys’ fees to the fullest extent permitted under the

                  FLSA;

             vii. An order awarding Plaintiff and the putative Class Members back pay

                  equal to the amount of all unpaid wages, plus an equal amount in

                  liquidated damages for violations of the NCWHA.

            viii. An order awarding litigation costs, expenses, and attorneys’ fees to the

                  fullest extent permitted under the NCWHA and/or Fed. R. Civ. P. 23(h);

                  and

             ix. Any other relief to which Plaintiff, Class, and Collective Members may

                  be entitled.




                             -25-
  Case 4:21-cv-00112-FL Document 1 Filed 08/12/21 Page 25 of 26
Dated: August 12, 2021       Respectfully submitted,

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                                   -26-
        Case 4:21-cv-00112-FL Document 1 Filed 08/12/21 Page 26 of 26
